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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA
                             EASTERN DIVISION


SAGE OHLENSEHLEN, CHRISTINA
KAUFMAN, ALEX PUCCINI, KELSEY                      CASE NO. 3-20-CV-00080
DRAKE, MIRANDA VERMEER and
ABBIE LYMAN,
     Plaintiffs,
v.
                                                   ORDER COMPELLING THE
THE UNIVERSITY OF IOWA, BRUCE                    PRODUCTION OF DOCUMENTS
HARRELD, in his official capacity as
President of the University of Iowa, and
GARY BARTA, in his official capacity as
Director of the Department of Athletics at
the University of Iowa,
     Defendants.


         The Court has before it Defendants’ Second Motion for Order Compelling the

Production of Documents. The Court finds that for good cause shown, Defendants’

motion should be GRANTED in full.

              ORDER COMPELLING PRODUCTION OF DOCUMENTS

         Defendants acknowledge that student education records are confidential

pursuant to the Family Educational Rights and Privacy Act (“FERPA”), 20 U.S.C. §

1232g. Absent a court order or subpoena and sufficient notice, FERPA-protected

documents can only be produced in litigation subject to the written consent of each

impacted student or in heavily-redacted form. 20 U.S.C. § 1232g(b)(2)(A); 34 C.F.R. §§

99.30-99.31, 99.3, 99.31(a)(9), 99.31(b)(1). To avoid the delay and expense of seeking

written waivers from potentially thousands of impacted students prior to producing

documents in this case, Defendants ask the Court to order the production of unredacted
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copies of certain FERPA-protected documents upon sufficient notice to impacted

students as required by 34 C.F.R. § 99.31(a)(9)(ii). For all the reasons stated and for

good cause shown, the Court grants Defendants’ motion and hereby orders Defendant

University of Iowa to produce to Plaintiffs unredacted copies of the following

documents, subject to the terms outlined in the Confidentiality Protective Order entered

in this case on April 7, 2021 and the notice requirements outlined 20 U.S.C. §

1232g(b)(2)(B) and 34 C.F.R. § 99.31(a)(9)(ii):

          1. CARA Logs for the fall 2015 through spring 2019 academic years;

          2. Official squad lists for the fall 2015 through spring 2019 academic
             years.

Such production of documentation for the fall 2015 through spring 2019 academic years

shall be made no later than August 2, 2021.


      IT IS SO ORDERED.

      Dated July 21, 2021.




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